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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                  Fort Lauderdale Division
                                   www.flsb.uscourts.gov

In re:                                                        Chapter 7

GENEREX BIOTECHNOLOGY CORP,                                   Case No. 22-13166-PDR

                 Debtor.
                                              /

TRUSTEE’S MOTION FOR ENTRY OF AN ORDER (I) APPROVING STALKING HORSE BID
      AND STALKING HORSE EPA, (II) APPROVING BID PROCEDURES AND BID
  PROTECTIONS IN CONNECTION WITH THE SALE OF DEBTOR’S EQUITY IN TWO
 SUBSIDIARIES, (III) APPROVING THE FORM AND MANNER OF NOTICE OF SALE, (IV)
 SCHEDULING AN AUCTION AND SALE HEARING AND (V) APPROVING THE SALE OF
     THE EQUITY FREE AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES

          Marc Barmat, Chapter 7 Trustee (“Trustee”) of Generex Biotechnology Corp. (the

“Debtor”) hereby files this motion (the “Motion”) and moves the Court for an order (I) approving

Stalking Horse Bid and Stalking Horse EPA, (II) approving bid procedures and bid protections in

connection with the sale of Debtor’s equity in two entities, including injunctive relief to preclude

transfer or issuance of additional equity, (III) approving the form and manner of notice of sale,

(IV) scheduling an auction and sale hearing, and (V) approving the sale of the equity free and clear

of all liens, claims, encumbrances, and interests of any kind, including without limitation any right

anyone may have to the Equity (as defined below), specifically including any right to claw back

equity pursuant to contract or other restrictions on transfer, except that any buyer will take the

Creek Olaregen Equity, as defined herein, subject to any valid lien asserted by Creek Mountain

Partners, Inc. In support of this Motion, the Trustee states as follows:

         SUMMARY OF PROPOSED SALE AND REQUESTED SALE PROCEDURES

          By the Stalking Horse Bid, the buyer, Bio & Med Tech of the Future SPV2, LP agrees to

purchase 64,153,151 common stock shares of Antigen Express, Inc. d/b/a NuGenerex Immuno-




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Oncology, Inc. and 100% of the shares of Olaregen Therapeutix, Inc. that are owned by Debtor for

the price of $1,5000,000, subject to better or higher bids of at least $1,700,000 or more, submitted

no later than December 23, 2022 at 5 p.m. The proposed sale of equity will be free and clear of

all liens, claims, and encumbrances, except with respect to the lien of Creek Mountain Partners,

Inc. on certain shares of Olaregen, to the extent it is a valid and enforceable lien. The proposed

Stalking Horse Bid was reached after weeks of arms’ length negotiations with multiple interested

parties, and contains protections for the stalking horse bidder of a breakup fee of $50,000. In

connection with the sale, the Trustee will seek findings, based on Debtor’s records and public

filings with the SEC, that the Debtor owns the equity sold, the absence of other equity classes in

the entities whose stock is being sold, that the stalking horse bidder is a good faith purchaser, and

that no other third party has any rights, interest, or equity in or to the shares sold. Notice of the

requested sale procedures herein will be served all scheduled creditors, all creditors who have filed

a proof of claim, and all other potential bidders who have expressed interest in the purchase, and

the Trustee will publish notice of the sale in the Wall Street Journal. The deadline to object to the

proposed sale and bid procedures herein is December 16, 2022, with the auction of qualifying

bidders occurring on December 27, 2022.

                                         BACKGROUND

         1.    On April 23, 2022 (“Petition Date”), Three Brothers Trading, LLC, GS Capital

Partners, LLC, BHP Capital NY, Inc., Beijing Youfeng Biological Technology Co., Ltd. and

Bedford Capital Group LLC (“Original Petitioning Creditors”) filed an involuntary petition as to

Generex Biotechnology Corp (“Debtor”) for relief under title 11 of the United States Code

commencing this case. (ECF 1.)




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         2.        The Debtor owns (a) 64,153,151 common stock shares and 100,000 shares of

Series A Super Voting Preferred Stock in Antigen Express, Inc. d/b/a NuGenerex Immuno-

Oncology (“NGIO”) and (b) 100% of the equity in Olaregen Therapeutix, Inc. (“Olaregen”).

         3.        The Trustee has entered into an Equity Purchase Agreement with Bio & Med Tech

of the Future SPV2, LP or its designee or successor or assigns (the “Stalking Horse Bidder”) for

the sale of all outstanding shares, equity, ownership interests, rights, and interests in property of

Debtor in NGIO and Olaregen (collectively, the “Equity”). The purchase price is One Million

Five Hundred Thousand Dollars ($1,500,000.00). The sale will be subject to higher or otherwise

better offers of at least $1,700,000. The Trustee submits that the sale of the Equity to the Stalking

Horse Bidder, or the highest and best bidder following an auction pursuant to Court approved

bidding procedures, is in the best interests of the estate.

         4.        The Trustee believes the best way to maximize the value of the Equity for the

benefit of the Estate is through an auction sale. The Trustee solicited eight prospective brokers for

potential engagement in this bankruptcy case, and issues precluding retention were (1) the

expedited timeline to market and sell the equity, and (2) the upfront retainer solicited by the

brokers.

                               EQUITY PURCHASE AGREEMENT

         5.        On October 13, 2022, the Trustee entered into the EPA with the Stalking Horse

Bidder, a copy of which is attached as Exhibit 1. Key terms of the EPA are summarized below.

The following is only a summary of certain material terms set forth in the EPA, and to the extent

there are any inconsistencies, the executed EPA controls:

              i.   “Equity” shall mean all shares, common and preferred, voting and non-voting, and
                   rights and property interests of Antigen Express, Inc. d/b/a NuGenerex Immuno-
                   Oncology, Inc. and Olaregen Therapeutix, Inc. that are owned by Debtor



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             ii.    Bankruptcy Court Approval. The Parties acknowledge and agree that this
                    Agreement is not binding and cannot be performed by or enforced against Seller or
                    Buyer unless and until the Bankruptcy Court approves this Agreement and
                    authorizes Seller’s performance of this Agreement. If the Agreement is not
                    approved by the Court, the Seller’s obligation to sell the Equity to the Buyer shall
                    terminate without any further liability or obligation on the part of any Party, and
                    this Agreement shall terminate without any party having any further liability or
                    obligation hereunder, except for Seller’s obligation to refund the First and Second
                    Deposits to the Buyer.

             iii.   Acquisition. Upon the terms and subject to the conditions contained in this
                    Agreement, on the Closing Date (as hereinafter defined) the Seller, in his capacity
                    as the Trustee, shall sell, convey, transfer, deliver and assign to the Buyer, and the
                    Buyer shall purchase and acquire from the Seller, all of the Seller’s right, title and
                    interest in and to the Equity free and clear of all Liens and Interests on an “as-is,
                    where-is” basis, with no warranties or representations except as set forth herein,
                    except that the Creek Olaregen Equity shall be taken subject to assumption of any
                    valid lien asserted by Creek Mountain Partners, Inc. The purchase and sale of the
                    Equity is referred to in this Agreement as the “Acquisition.”

             iv.    Purchase Price. As consideration for the Acquisition, the total purchase price
                    (“Purchase Price”) shall be One Million Five Hundred Thousand Dollars
                    ($1,500,000.00). The Purchase Price shall be paid by the Buyer to the Seller in cash
                    or immediately available funds as follows:

                                  (1)    Buyer shall pay Seller Seventy-Five Thousand Dollars
                           ($75,000.00) within fourteen (14) days of the full execution of this
                           Agreement (the “First Deposit”). The Deposit will be held in escrow by the
                           Trustee and shall be released only as provided by this Agreement;

                                  (2)     Buyer shall pay Seller Seventy-Five Thousand Dollars
                           ($75,000.00) before the occurrence of the Overbid Deadline (the “Second
                           Deposit”). The Deposit will be held in escrow by the Trustee and shall be
                           released only as provided by this Agreement;

                                 (3)    Buyer shall pay Seller One Million Three Hundred Fifty
                           Thousand Dollars ($1,350,000.00) at Closing.

              v.    Due Diligence Review. The Buyer and/or its agents and/or representatives shall
                    until the Overbid Deadline (the “Due Diligence Review Period”) to continue the
                    review of the business of, and the legal and accounting matters associated with, the
                    Debtor, the Equity, and the Companies (the “Due Diligence Review”). The Buyer
                    will be given access by the Trustee to Records concerning the Debtor and the
                    Companies subject to the execution of a mutually-acceptable Confidentiality and
                    Non-Disclosure Agreement (“NDA”).




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             vi.   Buyer’s Right to Terminate. Notwithstanding anything to the contrary contained in
                   this Agreement, the obligation of the Buyer to Close under this Agreement,
                   including its obligation to pay the Purchase Price, is subject to Buyer’s satisfaction,
                   in its sole and absolute discretion, with the results of its Due Diligence Review. At
                   any time on or before the expiration of the Due Diligence Review Period, Buyer
                   may elect to terminate this Agreement, by giving written notice of termination to
                   Seller (the “Buyer Termination Notice”) by any reasonable means, including email
                   to Seller’s counsel, based on Buyer’s determination, in its sole and absolute
                   discretion, that it is not satisfied with the results of its Due Diligence Review. If
                   Buyer does not provide a Buyer Termination Notice on or before the expiration of
                   the Due Diligence Review Period, the Buyer shall be deemed to have completed
                   and be satisfied with the results of its Due Diligence Review. In the event that the
                   Buyer delivers a Buyer Termination Notice to the Seller, then this Agreement shall
                   terminate without any further liability or obligation hereunder on the part of any
                   party, except that all obligations in the NDA shall survive the termination of this
                   Agreement. The Seller shall return all deposits made by the Buyer within seven
                   days after receipt of a Buyer Termination Notice.

         vii.      Break Up Fee. In the event that the Bankruptcy Court approves a higher or better
                   offer for the purchase of the Equity from a Person other than the Buyer or any
                   Person directly or indirectly Affiliated with or otherwise related to the Buyer or any
                   nominee thereof, and the Seller closes a sale transaction with that other buyer, then
                   the Buyer shall be paid upon from the proceeds of the sale of the Equity to such
                   other Person the sum of no more than Fifty Thousand Dollars ($50,000.00) (the
                   “Break Up Fee”), subject to the approval of the Bankruptcy Court.

         viii.     Higher and Better Offers. Subject to the terms and conditions contained in
                   Paragraph 8(E) of this Agreement, the Buyer acknowledges and agrees that this
                   Agreement is subject to higher or better offers for the Equity which may be solicited
                   by and/or received by the Seller through an auction. The Buyer shall have the right
                   and opportunity, but not the obligation, to make one (1) or more competitive bids
                   at an auction to be held on or before December 27, 2022 (the “Auction”). If the
                   Buyer’s bid is not accepted and approved by the Bankruptcy Court, the Seller’s
                   obligation to sell the Equity to the Buyer shall terminate without any further liability
                   or obligation on the part of any Party, and this Agreement shall terminate without
                   any party having any further liability or obligation hereunder, except for Seller’s
                   obligation to refund the First and Second Deposits to the Buyer, and to pay the
                   Break-Up Fee if and to the extent approved by the Bankruptcy Court.

             ix.   Subsequent Bidding Terms. In the event that the Seller desires and/or is required
                   to seek additional bids (each an “Additional Bid”) for the Equity, then the parties
                   agree as follows:

                                  (1)    The Seller will only consider and/or accept Additional Bids
                          from the Buyer or from a “Qualifying Bidder” (as defined hereinafter). For
                          purposes of this Agreement, a Qualifying Bidder shall be defined as a bidder
                          that has made a Qualifying Bid (as defined hereinafter) on or before the


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                          deadline to submit such Qualifying Bid, which deadline shall be no later
                          than December 23, 2022 at 5 p.m. EST (the “Overbid Deadline”).

                                  (2)     For purposes of this Agreement, a “Qualifying Bid” is
                          defined as: a written offer that (i) provides that the bidder shall purchase the
                          Equity on terms which, in the business judgment of the Seller, are no less
                          favorable to the Estate than those contained in this Agreement and/or any
                          Additional Bid from the Buyer; (ii) does not provide and/or entitle any such
                          bidder to any transaction or break-up fee, expense reimbursement,
                          termination, or similar type of fee or payment; (iii) does not contain any due
                          diligence, financing or regulatory contingencies of any kind; (iv) is at least
                          Two Hundred Thousand Dollars ($200,000.00) (the “Minimum Overbid”)
                          higher than the Purchase Price or One Million Seven Hundred Thousand
                          Dollars ($1,700,000.00) (the “Minimum Bid Increment”) higher than the
                          most recent highest bid contained in any subsequent Qualifying Bid; (v)
                          contains such financial disclosures and documentation which demonstrate,
                          in the Trustee’s sole business judgment, the potential bidder’s financial and
                          other capabilities to consummate the Additional Bid; and (vi) fully discloses
                          the identity of each person and/or entity that is bidding for the Equity or
                          otherwise participating in connection with such bid and the complete terms
                          of any such participation. Within 24 hours after the Overbid Deadline, the
                          Trustee shall notify the Buyer of all Qualifying Bids that the Trustee has
                          received, along with a copy of each such Qualifying Bid.

             x.    Title. The Seller shall convey to Buyer the Equity, and shall request Bankruptcy
                   Court approval to convey the Equity free and clear of any and all Liens and Interests
                   or other restrictions on transfer, except with respect to lien asserted by Creek
                   Mountain Partners, Inc. on 592,682 shares of Series A Preferred Shares in Olaregen
                   owned by Debtor. Upon the consummation of the Closing, the Seller shall transfer
                   and convey to the Buyer, and Buyer shall be vested with any title to, the Equity that
                   Debtor owns, free and clear of any Liens and Interests or other restrictions on
                   transfer, subject to Bankruptcy Court approval.

             xi.   Conditions Precedent to Buyer’s Obligations. The obligations of Buyer under this
                   Agreement are subject to the satisfaction of the following conditions on or prior to
                   the Closing Date, all or any of which may be waived in writing by Buyer:

                                 (1)      The Agreement has not been terminated by the Buyer
                          pursuant to its rights under this Agreement.

                                  (2)     The Seller shall have delivered all documents required to
                          sell, convey, transfer, deliver and assign to the Buyer the Equity, and all
                          such documents shall have been properly executed by the Seller.

                                  (3)    The Seller shall be able to sell, convey, transfer, deliver and
                          assign to the Buyer the Equity free and clear of any and all liens, claims,



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                         and encumbrances, except that the Creek Olaregen Equity shall be taken
                         subject to any valid lien asserted by Creek Mountain Partners, Inc.

                                 (4)     The Court shall have entered the Sale Order, in a form
                         approved by the Buyer (in the Buyer’s sole discretion that, among other
                         things: (i) authorizes the sale of the Equity to Buyer; (ii) is not be subject to
                         any stay and is final and nonappealable; and (iii) finds that the Buyer is a
                         good faith purchaser within the meaning of Section 363(m); (iv) makes the
                         Equity Findings; and (v) finds that there has been no share issuance or other
                         event causing dilution of the Equity.

         xii.     Conditions Precedent to Seller’s Obligations. The obligations of the Seller under
                  this Agreement are subject to the satisfaction of the following conditions on or prior
                  to the Closing Date, all or any of which may be waived in writing by the Seller:

                                (1)     The Buyer shall have delivered to the Seller all documents
                         required to be delivered by the Buyer, and all such documents shall have
                         been properly executed by the Buyer.

                                (2)    The Buyer shall have tendered the Purchase Price in
                         accordance with the terms set forth in this Agreement.

                                (3)     The Bankruptcy Court shall have entered the Sale Order
                         authorizing the sale of the Equity to Buyer and it shall not be subject to any
                         stay.

         xiii.    The Closing. Unless otherwise agreed to in writing by the parties, the closing
                  contemplated by this Agreement (the “Closing”) shall take place on or before
                  January 30, 2022, so long as Sale Order is entered by December 30, 2022 and is not
                  subject to any stay (the “Closing Date”). However, the Parties shall have the ability
                  to extend Closing if mutually agreed in writing by both Parties.

         xiv.     Brokers. Neither the Seller nor anyone acting on behalf of the Seller has employed,
                  either directly or indirectly, or incurred any liability to, any broker, finder or other
                  agent in connection with this Agreement.

                                        RELIEF REQUESTED

A.           Approve of Bidding Procedures and Terms of Sale

         6.       In order to ensure that the maximum value is received for the Property, the proposed

sale will be subject to the highest and best bidder at auction. The Trustee seeks to adopt procedures

which will foster competitive bidding among potential buyers, without eliminating or discouraging

any qualifying bids. In connection therewith, the Trustee requests that the Court approve the


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following bidding and sale procedures, which the Trustee believes are likely to maximize the

realizable value of the Equity (the “Sale Procedures”):

               i.   Participation Requirements: Unless otherwise ordered by the Court, in order to
                    participate in the bidding process, an interested bidder must:

                                  (1)      Wire into the trust account of the Trustee an escrow deposit
                           of Two Hundred Thousand Dollars ($200,000.00) so that the wire is
                           confirmed to be received by the Trustee through a balance verification of
                           the Trustee's trust account no later than 5:00 p.m. EST on December 23,
                           2022 (the “Bid Deadline”);

                                   (2)     Submit to the Trustee and Akerman LLP on or before the
                           Bid Deadline: (A) a fully executed equity purchase agreement (“EPA”)
                           substantially in the form of the EPA to be provided by the Trustee (the
                           effectiveness of such EPA being contingent only upon the Qualified Bidder
                           becoming the Successful Bidder pursuant to these procedures, subject only
                           to Bankruptcy Court approval, with no due diligence or financing
                           contingencies), with a purchase price of not less than One Million Seven
                           Hundred Thousand Dollars ($1,700,000.00), and (B) a black-lined version
                           of the EPA to show any changes made by such bidder; provided that, an
                           EPA with any material changes may be rejected by the Trustee in its sole
                           business judgment; and

                                   (3)     Submit to Akerman and the Trustee on or before the Bid
                           Deadline such financial disclosures and documentation which demonstrate,
                           in the Trustee’s sole business judgment, the potential bidder’s financial and
                           other capabilities to consummate the sale.

             ii.    A person who timely complies with these Participation Requirements shall have
                    submitted a “Qualified Bid” and shall be deemed a “Qualified Bidder.” The list of
                    Qualified Bidders will not be shared with anyone prior to the Auction except the
                    Stalking Horse Bidder. The Stalking Horse Bidder shall be deemed a Qualified
                    Bidder.

             iii.   Waiver of Conflicts: Any person who has submitted a Qualified Bid shall be
                    deemed to have waived any right to claim there is a conflict with respect to an
                    unrelated transaction for which such person has employed the law firm of Akerman
                    LLP, or Furr Cohen, P.A., and the Trustee’s employment of Eyal Berger, Esq. and
                    the law firm of Akerman LLP as counsel for the sale of the Equity and related
                    transactions contemplated therein.

             iv.    Deadline to Object: The deadline to object to the Stalking Horse Bid and sale
                    procedures is December 16, 2022.




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             v.    Auction: In the event the Trustee receives a timely Qualified Bid, the Trustee will
                   conduct an auction (the “Auction”). The Auction shall take place on December 27,
                   2022 beginning at 9:30 a.m. via Zoom videoconferencing, or such other time or
                   place as the Trustee shall notify the Qualified Bidders. In the event the Trustee does
                   not receive a timely Qualified Bid, the Trustee will seek final approval of the sale
                   to the Stalking Horse bidder at the Sale Hearing.

             vi.   Auction Procedures: At the Auction, the Trustee will identify the Qualified Bid
                   which shall serve as the opening bid.

                                  (1)      All Qualified Bidders shall be entitled to make any
                          subsequent bids in increments of not less than $50,000.00 (a “Subsequent
                          Bid”). Bidding at the Auction shall continue until such time as the highest
                          or best offer is determined by the Trustee in the exercise of his sole business
                          judgment. The Trustee reserves the right to modify the bidding increments
                          or announce at the Auction additional procedural rules for conducting the
                          Auction in his sole business judgment.

                                  (2)     Each Qualified Bidder’s offer shall be irrevocable until the
                          selection of the Successful Bidder and, if applicable, the Back-Up Bidder
                          (as set forth in the EPA), provided that if such bidder is selected as the
                          Successful Bidder or the Back-Up Bidder, its offer shall remain irrevocable
                          until the closing of the sale to the Successful Bidder or the Back-Up Bidder.

         vii.      Broker’s Commissions: The bankruptcy estate shall not be liable for any broker
                   commissions.

         viii.     Successful Bid: After the conclusion of the Auction, the Trustee shall submit the
                   highest or best bid that has been accepted (the “Successful Bid”) for approval by
                   the Bankruptcy Court at a hearing at the United States Courthouse, 299 E. Broward
                   Blvd, Courtroom 301, Fort Lauderdale, FL 33301 on December 27, 2022 at 2:30
                   p.m. EST following the auction (the “Sale Hearing”). The Qualified Bidder who
                   has the Successful Bid presented for approval to the Court shall be referred to as
                   the “Successful Bidder.”

             ix.   Closing Date: The closing of the transaction (the “Closing”) shall take place on or
                   before January 30, 2023, so long Sale Order is entered by December 30, 2022 and
                   is not subject to any stay (the “Closing Date”), subject to the terms of the EPA. The
                   Successful Bidder must be prepared and must in fact consummate the purchase of
                   the Equity in accordance with the EPA.

             x.    Back Up Bid: Upon the failure of the Successful Bidder to consummate the closing
                   of the purchase of the Equity because of a breach or failure on the part of the
                   Successful Bidder, then the Trustee may elect in his business judgment to close
                   with the next highest or otherwise best Qualified Bidder to be the Successful Bidder
                   (the “Back Up Bidder”). At the Sale Hearing, the Trustee intends to seek approval
                   from the Court for the next highest or best bid (the “Back Up Bid”), which approval


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                    shall authorize the Trustee to consummate the Back Up Bid immediately after a
                    default under the Successful Bid without further order of the Court. Promptly
                    following the conclusion of the Sale Hearing, the Trustee shall return the deposits
                    to each unsuccessful Qualified Bidder (except the Back Up Bidder whose deposit
                    shall either be returned upon the closing of the sale to the Successful Bidder or
                    applied to the purchase price in a closing with such Back Up Bidder).

             xi.    As is/where is: The Equity will be sold “as is”, “where is”, with all faults, with no
                    guarantees or warranties, express or implied.

         xii.       Sale Hearing: The Trustee requests that a final Sale Hearing be scheduled to be
                    held immediately following the Auction on December 27, 2022.

B.           Form and Manner of Notice of Sale Procedures and Sale.

         7.         Pursuant to Bankruptcy Rule 2002(a), the Trustee is required to provide creditors

with 21 days’ notice of the Sale Hearing. Pursuant to Bankruptcy Rule 2002(c), such notice must

include the date, time and place of the Auction and the Sale Hearing. The Trustee will serve the

Motion on the Debtor, all creditors scheduled on the creditor matrix, the Office of the United States

Trustee, and on the registered agent and corporate management of NGIO and Olaregen. After the

passage of the proof of claim deadline on November 3, 2022, the Trustee will serve the Motion on

all creditors who have filed a proof of claim. In addition, the Trustee will serve upon all creditors

and interested parties the Order granting the Motion (the “Sale Procedures Order”), in a form

substantially as attached hereto as Exhibit 2, which shall set forth among other things, the Sale

Procedures, and the time, date, and place of the Auction and Sale Hearing.

         8.         Further, the Trustee will publish notice of the proposed sale free and clear of all

Liens and Interests, as hereinafter defined, pursuant to Section 363(f) of the Bankruptcy Code in

(a) the Wall Street Journal not less than once per week for two consecutive weeks. Such publication

notice will set forth the time, date, and place of the Auction and Sale Hearing.




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C.           Approval of Break-Up Fee.

         9.       To compensate the Stalking Horse Bidder for serving as the “stalking horse”

thereby subjecting its bid to higher or better offers, the Trustee seeks authority to pay the Break-

Up Fee in the amount of Fifty Thousand Dollars ($50,000.00) if the Bankruptcy Court approves a

higher or better offer for the purchase of the Equity from a person other than the Stalking Horse

Bidder or any person directly or indirectly affiliated with or otherwise related to the Stalking Horse

Bidder or any nominee thereof, and the Seller closes a sale transaction with that other buyer.

         10.      The ability of the Trustee to offer the Stalking Horse Bidder the Break-Up Fee

benefits the estate because it affords the Trustee the means necessary to induce the Stalking Horse

Bidder to submit its bid prior to the Auction, and thereby establish a “floor” and appropriate

parameters for submission of Qualified Bids in connection with the Auction. Thus, even if the

Stalking Horse Bidder is paid the Break-Up Fee because it is not the Successful Bidder, the estate

will have benefited from the higher floor established by the Stalking Horse and the certainty that

such bid brings to the sale process. Approval of break-up fees, expense reimbursements and other

forms of bidding protection in connection with the sale of significant property pursuant to section

363 of the Bankruptcy Code therefore has become an established practice in bankruptcy cases.

See, e.g., In re Gemini Cargo Logistics, Inc., No. 0610870 (Bankr. S.D. Fla. Apr. 17, 2006); In re

Piccadilly Cafeterias, Inc., No. 03-27976 (Bankr. S.D. Fla. Sept. 14, 2004).

         11.      Moreover, the amount of the Break-Up Fee is approximately 3.33% of the Purchase

Price and is consistent with the range of break-up fees approved by Courts in this District and

otherwise. See In re Protective Products of America, Inc., et al., No. 10-10711-JKO (Bankr. S.D.

Fla. Jan. 19, 2010) (approving 4% break-up fee and expense reimbursement); In re 160 Royal

Palm, LLC, No. 18-19441-EPK (Bankr. S.D. Fla. Nov. 9, 2018) (approving break-up fee of



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$350,000, constituting 1.09% of purchase price); In re Tousa, Inc., et al., Case No. 08-10928-JKO

(Bankr. S.D. Fla. Dec. 21, 2009) (approving 3% break-up fee).

         12.        The Trustee believes, in his business judgment, that the Break-Up Fee is reasonable

and appropriate in view of, among other things, the size and nature of the transaction contemplated

by the EPA. Moreover, the Break-Up Fee was a material inducement for, and a condition of, the

Stalking Horse Bidder’s entry into the EPA. Accordingly, the Trustee requests that the terms of

the EPA relating to the Break-Up Fee be approved.

D.       Ownership of Equity

         13.        The Trustee seeks express findings of fact that the Equity is property of the Debtor's

bankruptcy estate.

             (i)    Olaregen Therapeutix, Inc.

         14.        Olaregen Therapeutix Inc. (“Olaregen”) is a New York based regenerative

medicine company engaged in the development, manufacturing and commercialization of

products that fill unmet needs in current wound healing market. Olaregen’s proprietary, patented,

wound conforming gel matrix, Excellagen, is an FDA-cleared, topically applied wound healing

product for the management of 17 wound healing indications. See Generex Form 10-K for fiscal

year-end July 31, 2020, pp. 5, 16-17, 97,1 attached as Exhibit 1 to the Appendix filed

contemporaneously with this Motion; Olaregen website, https://www.olaregen.com/about-us-2/.

         15.        On November 27, 2018, Generex and Olaregen entered into a binding letter of

intent (“LOI”) contemplating the Company’s acquisition of 51% of the outstanding capital stock

of Olaregen for a total consideration of twelve million dollars ($12,000,000). See Generex 8-K




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 The page numbers for the SEC filings refer to the page numbers at the bottom middle of each
page of the report.

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dated November 27, 2018, attached as Exhibit 2 to the Appendix; Binding Letter of Intent attached

as Exhibit 3 to the Appendix.

         16.    On January 7, 2019, pursuant to a Stock Purchase Agreement, Debtor acquired

3,282,632 common stock shares, representing 51% of the outstanding capital stock, of Olaregen

Therapeutix Inc. (“Olaregen”) for an aggregate of $12,000,000, among which $400,000 was paid

in cash and the remainder was paid by the issuance of a promissory note in the amount of

$11,600,000 (“Olaregen Note”). See Stock Purchase Agreement, attached as Exhibit 4 to the

Appendix; Generex 8-K dated January 7, 2019, attached as Exhibit 5 to the Appendix. The

Olaregen Note is secured by a pledge of the Olaregen Shares pursuant to a Pledge and Security

Agreement. Id. In the event that Debtor failed to pay the final installment of $6,000,000 due on

the Olaregen Note, Debtor was to forfeit the shares allocated to that installment (1,600,000

Olaregen shares) and Olaregen will be entitled to “claw back” fifty percent (50%) of any and all

shares paid for by the prior payments. Id.

         17.    On March 14, 2019, the Debtor and Olaregen amended the Stock Purchase

Agreement and Olaregen Note to extend the due date of the remaining balance of the second

tranche of payments amounting to $600,000 on or before April 1, 2019. See Appendix, Ex. 1, p.

129; Amendment Agreement attached as Exhibit 6 to the Appendix. The Debtor remitted

additional payments of $200,000 on April 30, 2019 and $38,500 on May 17, 2019. Id. On May

22, 2019, the Debtor and Olaregen amended the agreement to extend the due date of the remaining

balance of the second tranche of payments amounting to $361,500, the full balance of the third

tranche amounting to $3,000,000 and the full balance of the fourth tranche amounting to

$1,000,000 (total of $4,361,500) on or before June 30, 2019. Id.




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         18.    On March 14, 2019, Olaregen elected the option to proportionally increase the per

share purchase price to $4.00 for the remaining 2,899,658 of the total 3,282,632 shares to be

acquired. See Appendix, Ex. 1, p. 88; Appendix, Ex. 6. This resulted in an additional $998,633

for the Debtor to remit to Olaregen pursuant to the acquisition. See Appendix, Ex. 1, p. 88.

         19.    In May 2019, Debtor acquired from Creek Mountain Partners, LLC 592,683 shares

of Series A Preferred Stock of Olaregen (“Creek Olaregen Equity”) pursuant to a Stock Purchase

Agreement entered into January 14, 2019, subject to the approval of the Board of Directors of

Olaregen and consummated on May 10, 2019. See Appendix, Ex. 1, p. 114; Stock Purchase

Agreement, attached as Exhibit 7 to Appendix. Debtor acquired the Creek Olaregen Equity in

exchange for 4 million shares of the Debtor’s common stock, contributed and provided by the

Friends of Generex Biotechnology Investment Trust,2 plus the issuance of a $2 million promissory

note, id., thereby increasing Debtor’s interest in Olaregen to approximately 62% of Olaregen’s

outstanding voting shares.    See Appendix, Ex. 1, p. 2. The 592,683 Olaregen shares represent

approximately 10% voting control of Olaregen. See Appendix, Ex. 1, p. 113. The $2,000,000

note was extended to have a maturity date of August 1, 2019. Id.

         20.    On August 16, 2019, Debtor entered into a Share Exchange Agreement to purchase

an additional 900,000 shares of common stock in Olaregen from other shareholders of Olaregen

in exchange for 1,905,912 shares of Generex common stock and 476,478 shares of NGIO common

stock which increased Debtor’s interest in Olaregen to approximately 77% of Olaregen’s

outstanding voting shares. See Appendix, Ex. 1, p. 113; Share Exchange Agreement attached as



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  The provided shares by the Friends of Generex Trust were already issued and outstanding and
did not result in any expense of the Debtor. Since these shares were transferred, to the shareholders
of Olaregen, by an existing shareholder to settle an obligation of the Debtor, the value of the shares
provided by the Friends of the Generex Trust to settle the debt was reflected in the financial
statements as an addition to contributed (paid-in) capital. See Appendix, Ex. 1, p. 70.

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Exhibit 8 to Appendix. The Share Exchange Agreement indicated that the 900,000 shares was

32.18% of the remaining shares, and the exhibit stated that an additional 1,461,075 shares of

common stock were outstanding. See Appendix, Ex. 8.

         21.    In September 2019, the Debtor converted all of the Series A Preferred Stock of

Olaregen into common stock of Olaregen. See Appendix, Ex. 1, p. 5.

         22.    On November 24, 2019, the Debtor and Olaregen amended the Stock Purchase

Agreement and Promissory Note to extend the due date of the remaining balance of the Olaregen

Note. See Appendix, Ex. 1, p. 88. Effective November 24, 2019, the deadline was extended to

January 31, 2020. See Appendix, Ex. 1, p. 88, 108.

         23.    On February 14, 2020, the remaining stockholders of Olaregen exchanged all of its

outstanding shares for 5,950,000 shares of Generex common stock and 2,765,000 shares of NGIO,

see Appendix, Ex. 1, p. 113, with a waiver of any penalties and accrued interest on the outstanding

Olaregen Note. See Appendix, Ex. 1, p. 108; Letter Agreement attached as Exhibit 9 to Appendix.

As a result of this transaction, Debtor owns 100% of the outstanding shares of Olaregen. See

Appendix, Ex. 1, p. 5, 79.

         24.    According to Debtor’s most recent SEC filing, a 10-Q for quarter ending April 30,

2021, Olaregen continues to be wholly-owned by the Debtor. See 10-Q for Generex for quarter

ending April 30, 2021, pp. 7, 14, 32, 42, attached as Exhibit 10 to Appendix.

         25.    Based on the foregoing, Trustee seeks the following factual findings (collectively,

the “Olaregen Findings”) in the Sale Procedures Order that: (a) Olaregen has 6,236,390 common

stock shares outstanding and no preferred or other classes of equity interests; (b) the Debtor owns

6,236,390 shares of Olaregen’s common stock, representing 100% of the outstanding shares of

Olaregen; (c) that the Debtor’s 100% ownership of Olaregen stock is property of the bankruptcy



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estate and the Trustee has authority to convey the Olaregen stock to the Buyer; (d) that Creek

Mountain’s Lien, if valid and enforceable, would attach only to 592,683 common shares of

Olaregen; (e) no other person or entity has any rights, interest, or equity in the shares of Olaregen;

and (f) there has been no share issuance or other event causing dilution of Debtor’s equity in

Olaregen.

             (ii)    Antigen Express, Inc. d/b/a NuGenerex Immuno-Oncology, Inc.

         26.         On August 8, 2003, Generex Biotechnology, Inc. ("Generex") acquired all of the

outstanding capital stock of Antigen Express, Inc. ("Antigen") pursuant to an Agreement and Plan

of Merger (the "Merger Agreement") among Generex, Antigen and AGEXP Acquisition, Inc.

("AGEXP"), a wholly owned subsidiary of Generex formed for purposes of the transaction. See

Generex Form 8-K filed August 8, 2003, attached as Exhibit 11 to Appendix.

         27.         Antigen was engaged in research and development efforts focused on the

development of immunomedicines for the treatment of malignant, infectious, autoimmune and

allergic diseases. Antigen's potential products are based on two platform technologies (Ii-Key

hybrid peptides and Ii-Suppression) discovered by founder, Dr. Robert E. Humphreys. Id.

         28.         On December 30, 2019, the company filed for name change, changing its name to

NuGenerex Immuno-Oncology, Inc.                See Certificate of Amendment of Certificate of

Incorporation, attached as Exhibit 12 to Appendix.

         29.         Prior to filing, NGIO was an oncology company focused on the modulation of the

immune system to treat cancer. NGIO is developing immunotherapeutic products and vaccines

based on our proprietary, patented platform technology, Ii-Key. The Ii-Key is a peptide derived

from the major histocompatibility complex (MHC) Class II associated invariant chain (Ii) that

regulates the formation, trafficking, and antigen-presenting functions of MHC class II complexes,



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essential for the activation of T cells in the immune response. See NGIO 10-K for year ending

July 31, 2020, attached as Exhibit 13 to Appendix, p. 3.

         30.    According to the 10-K for NGIO, NGIO had 400,300,000 shares of common stock,

outstanding as of October 28, 2020. See Appendix, Ex. 13, p. 1.

         31.    On January 20, 2021, NGIO designated 100,000 shares of preferred stock as “Series

A Super Voting Preferred Stock.” See NGIO 8-K for quarter ending April 30, 2021, attached as

Exhibit 14 to Appendix, p. 13. The holders of the Series A Super Voting Preferred Stock are

entitled to dividends, conversion, redemption, or liquidation preference and have the right to vote

in an amount equal to 3,000 votes per share. Id.

         32.    On February 2, 2021, NGIO issued 100,000 shares of the Series A Super Voting

Preferred Stock to Debtor in exchange for 300,000,000 shares of NGIO’s common stock, which

were immediately cancelled after the exchange. Id.

         33.    According to the most recent 8-K for NGIO, as of June 14, 2021, NGIO had

100,300,000 shares of common stock outstanding, of which Debtor owns 64,153,151 shares. Id.

         34.    The Debtor owns 64,153,151 common stock shares of NGIO and 100,000 shares

of NGIO’s Series A Super Voting Preferred Stock, according to the Debtor’s most recent quarterly

SEC filing, the 10-Q for quarter ending April 30, 2021. See Appendix, Ex. 10, p. 40.

         35.    Based on the foregoing, the Trustee seeks the following factual findings

(collectively, the “NGIO Findings’) in the Sale Procedures Order that: (a) NGIO has 100,300,000

common stock shares outstanding, and that the Debtor owns 64,153,151 of such common stock

shares of NGIO; (b) NGIO has 100,000 Series A Super Voting Preferred Stock outstanding, and

that the Debtor owns all 100,000 shares of such Series A Super Voting Preferred Stock; (c) there

are no other classes of equity interests in NGIO; (d) that the Debtor’s equity in NGIO is property



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of the bankruptcy estate and the Trustee has authority to convey the NGIO stock to the Buyer; (e)

no other person or entity has any rights, interest, or equity in the Debtor’s shares of NGIO; and (f)

there has been no share issuance or other event causing dilution of Debtor’s equity in NGIO.

E.           Injunctive Relief to Preclude Transfer or Dilution Prior to Sale

         36.       In the EPA, the Trustee has agreed not to sell, pledge, dispose of, grant, transfer,

lease, license, guarantee, encumber, or authorize the sale, pledge, disposition, grant, transfer, lease,

license, guarantee or encumbrance of any of the Equity. The Trustee has further agreed not to

issue any additional equity or take any action to dilute the existing Equity subject to this agreement.

This term was a material inducement to the Stalking Horse Bidder to protect the value of the Equity

prior to the sale of the Equity. The Trustee submits it is an appropriate and necessary protection

pending the sale pursuant to 11 U.S.C. § 363.

         37.       To effectuate the intent of this provision, the Trustee requests that in the Sale

Procedures Order, the Court enjoin any and all parties from issuing any additional equity or taking

any action to dilute the existing Equity subject to this agreement. The Sale Procedures Order will

be served on the management of both NGIO and Olaregen.

         38.       In addition to the Court’s authority under 11 U.S.C. § 105 to issue any order

necessary or appropriate to carry out the provisions of the Bankruptcy Code, such injunction

against further issuance of additional equity or taking any actions to dilute the existing Equity is

justified by an SEC request that the Trustee consent to halt further over-the-counter trading of

shares of NGIO based on the SEC’s recent order instituting administrative proceedings, and by an

Order of the Southern District of New York court enjoining the transfer or dissipation of assets of

the Debtor. See SEC Order, attached as Exhibit 15 to Appendix, and Order of the Southern District

of New York Court attached as Exhibit 16 to Appendix.



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F.       Sale of Equity as Property of the Estate Free and Clear of Liens and Interests, Claims
         and Encumbrances

         39.    Pursuant to Section 363(b) of the Bankruptcy Code, the Trustee seeks to sell the

Equity to the highest or best bidder following the Auction, free and clear of all liens, claims,

encumbrances, and interests to the fullest extent possible under applicable law except with respect

to any valid lien asserted by Creek Mountain Partners, Inc. on 592,682 shares of Series A Preferred

Shares in Olaregen (“Creek Olaregen Equity”) owned by Debtor pursuant to UCC-1 Financing

Statement filed by Creek Mountain Partners, Inc. by reason of the UCC-1 Financing Statement

filed on January 28, 2020 under UCC Filing No. 2020 0618696 (“Creek Lien”) (with all liens,

claims, encumbrances, or interests except the Creek Lien referred to as the “Liens and Interests”).

The Buyer will take Creek Olaregen Equity subject only to any valid lien asserted by Creek

Mountain Partners, Inc.

         40.    The Trustee seeks the entry of an Order, substantially in the same form as the

proposed order attached hereto as Exhibit 2, authorizing the Trustee to sell and convey the Equity

free and clear of the Liens and Interests, including but not limited to the interest held by Oasis

Capital, LLC (“Oasis”) by reason of the UCC-1 Financing Statement filed on January 25, 2022

with the Delaware Secured Transaction Registry under UCC Filing No. 2022 0669879 (“Oasis

UCC-1”).

         41.    The Trustee requests that the Order further provide that the Liens and Interests shall

attach to the proceeds of the sale of the Equity in the order of their priority, with the validity, force

and effect that they had as of the Petition Date, if any, against the Equity, subject to the rights,

claims, defenses and objections of the Trustee and all interested parties with respect to such liens,

so that the purchaser of the Equity shall take the Equity free of all the Liens and Interests.



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         42.    Section 363(f) of the Bankruptcy Code authorizes the Trustee to sell property of

the estate free and clear of any liens, claims or encumbrances if one of the following is met: (1)

applicable non-bankruptcy law permits sale of such property free and clear of such interest; (2)

such entity consents, (3) such interest is a lien and the price at which such property is to be sold is

greater than the aggregate value of all liens on such property, (4) such interest is in bona fide

dispute or (5) such entity could be compelled, in a legal or equitable proceeding, to accept a money

satisfaction of such interest.

         43.    The language of Section 363(f) is in the disjunctive, so that a sale free and clear of

interests can be approved if any of the aforementioned conditions is met. In re Heine, 141 B.R.

185, 189 (Bankr. D.S.D. 1992); In re Elliot, 94 B.R. 343, 345 (E.D. Pa. 1988).

         44.    The Trustee believes that Section 363(f)(4) applies, as the purported lien of Oasis

is the subject of a bona fide dispute. The Oasis UCC-1 was filed, and thus its security interest was

perfected, less than 90 days before the Petition Date. Accordingly, the lien is subject to avoidance

as a preference.

         45.    Moreover, Section 363(f)(5) applies, as Oasis could be compelled, in a legal or

equitable proceeding, to accept a money satisfaction of such interest. Section 363(f)(5) has been

interpreted as applying where an entity could be forced to compelled to accept less than full

payment of the underlying debt in any actual or potential proceeding, under applicable

nonbankruptcy law or bankruptcy law. In re Healthco Intern., Inc., 174 B.R. 174, 176 (Bankr. D.

Mass. 1994); In re Hamilton Rd. Realty LLC, 8-19-72596-REG, 2021 WL 1620046, at *6 (Bankr.

E.D.N.Y. Apr. 26, 2021). Moreover, some courts have applied the section on a hypothetical basis,

so that, for example, if an lien holder could be compelled to accept less than payment in full in

satisfaction of its lien in a Chapter 11 cramdown proceeding, the same would be permitted in a



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Chapter 7 proceeding. In re Healthco Intern., Inc., 174 B.R. at 176-177. Since Oasis could be

forced to accept monetary payment in satisfaction of its purported lien, either in a non-bankruptcy

action to foreclose their interest or in a Chapter 11 cramdown, Section 363(f)(5) is met.

G.           Sale of the Equity is in Good Faith

         46.       The Trustee requests that the Court find that the proposed sale to the Stalking Horse

Bidder, or the Successful Buyer, is in good faith under Section 363(m).

         47.       The Trustee will have provided notice of the sale and the Sale Procedures to all

creditors, NGIO, and Olaregen, and provided publication of same in the Wall Street Journal not

less than once per week for two consecutive weeks.

         48.       The Stalking Horse Bid was negotiated at arm’s length over several weeks between

sophisticated counsel, and after fielding multiple potential buyers for the Equity.

         49.       Although the Stalking Horse Bidder group includes a former insider of the Debtor,

Andrew Ro, the group also includes outside investors, and none of the group has any relationship

to the Trustee. The Trustee has given all other interested purchasers access to the same information

to which the Stalking Horse Bidder was given access.

         50.       The Trustee submits that as a result of the Auction, and the procedures requested

herein, the sale will be for a fair and reasonable price and is conducted in good faith.

         51.       In connection therewith, the Trustee submits the Stalking Horse Bidder (or the

Successful Bidder) will have acted in good faith and therefore the Trustee requests that the Sale

Order provide appropriate findings and protections pursuant to Section 363(m) of the Bankruptcy

Code.




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         52.      Collectively, the factors evidence that the Trustee’s proposed sale of the Equity to

the highest and best bidder at auction, without any further delay, is in the best interest of all

creditors of the estate.

H.           Limitations on Credit Bids

         53.      The Trustee is aware of an alleged lien asserted by Oasis on all of the assets of the

Debtor, which lien the Trustee believes is subject to a bona fide dispute and the perfection of which

the Trustee will be seeking to avoid as a preferential transfer.

         54.      For the same reason, the Trustee seeks to limit the credit bids by Oasis.

         55.      Pursuant to section 363(k), the Court has the power to limit a creditor’s right to

credit bid for cause. Section 363(k) states that:

         (k) At a sale under subsection (b) of this section of property that is subject to a lien that
         secures an allowed claim, unless the court for cause orders otherwise the holder of such
         claim may bid at such sale, and, if the holder of such claim purchases such property, such
         holder may offset such claim against the purchase price of such property.

         11. U.S.C. § 363(k) (emphasis added).

         56.      “[O]nly an allowed claim under § 502 is entitled to “credit bid” at § 363(b) sale.”

In re RML Dev., Inc., 528 B.R. 150, 154 (Bankr. W.D. Tenn. 2014). While a secured creditor has

the right to credit bid, the “law is equally clear, as Section 363(k) provides, that the Court may for

cause order otherwise.” In re Fisker Auto. Holdings, Inc., 510 B.R. 55, 59 (Bankr. D. Del. 2014)

(quotations and citations omitted). Further, section 105(a) states that the “court may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

11 U.S.C. § 105(a).

         57.      “The term ‘cause’ is not defined in the Bankruptcy Code and is left to the courts to

determine on a case-by-case basis.” In re Old Prairie Block Owner, LLC, 464 B.R. 337, 348

(Bankr. N.D. Ill. 2011). Various courts have limited credit bid rights where a creditor’s allowed


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secured claim is in dispute, the creditor engaged in inequitable conduct and/or limiting a creditor’s

right to credit bid would foster a competitive bidding environment. For example, in In re Daufuskie

Island Properties, LLC, the court determined that William R. Dixon (“Dixon”) would not have the

right to credit bid because his secured claim was disputed. 441 B.R. 60, 63 (Bankr. D.S.C. 2010).

         58.      In In re The Free Lance-Star Publ'g Co. of Fredericksburg, VA, the debtors sought

to sell its assets through an auction. 512 B.R. 798, 799-800 (Bankr. E.D. Va. 2014). Around the

same time, the lender initiated an adversary for declaration that it had a valid and perfected lien on

substantially all of the debtor’s assets. Id. at 800. The court held an evidentiary hearing and

determined that the lender did not have a valid lien on certain assets and could not credit bid its

claim against such assets. Id.

         59.      As an initial matter, Oasis presently does not have any allowed claim. On this basis

alone, Oasis does not have the right to credit bid.

         60.      To the extent Oasis files a proof of claim, at the very least the secured nature of the

claim will be subject to dispute as the Oasis UCC-1 was filed within the preference period.

I.           Trustee Will Comply with Applicable Securities Law

         61.      Since NGIO is a public company, the Trustee will comply with applicable law

related to the sale of securities. As part of such compliance, the solicitation of higher and better

bids will be limited to accredited investors that are exempt from prospectus and disclosure

requirements applicable to retail investors under securities laws. The proposed Stalking Horse

Bidder is exempt from such prospectus requirements as it meets the requisite sophistication and

investment limits.

         62.      Accordingly, the Trustee requests that the Court restrict the potential purchasers to

only those purchasers who are exempt from securities disclosures.



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J            Waiver of Stay Period Pursuant to Fed. R. Bankr. P. 6004(h)

          63.      To the extent necessary, the Trustee requests that the Court waive the 14-day stay

period pursuant to Fed. R. Bankr. P. 6004(h).

K.           Scheduling Auction and Final Hearing on Sale Motion

          64.      The Trustee requests that the Court schedule the Sale Hearing to consider final

approval of the sale of the Equity immediately following the Auction on December 27, 2022.

             WHEREFORE, the Trustee respectfully requests that this Court enter an Order

substantially in the same form as the order attached hereto as Exhibit 2:

             i) granting the Motion,

             ii) approving the Equity Purchase Agreement between Trustee and the Stalking Horse

Bidder;

             iii) authorizing the Trustee to schedule an auction sale of the Equity,

             iv) approving the Sale Procedures and Break-Up Fee in connection with auction sale,

             v) approving the form and manner of notice of sale,

             vi) making the equity findings as to Debtor’s interest in the Equity as detailed in the

Motion, and finding that the Stalking Horse Bidder is a purchaser in good faith under Section

363(m);

             vii) scheduling the Sale Hearing,

             viii) approving the sale of the Debtor’s interest in the Equity, free and clear of the Liens

and Interests as set forth herein, and

             ix) granting the Debtor such other and further relief as is proper.




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Dated: October 14, 2022              Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on October 14, 2022, I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served on this day by transmission of Notices of Electronic Filing generated by CM/ECF
to those parties registered to receive electronic notices of filing in this case and/or via U.S. mail as
reflected in the below service list.

                                               /s/ Eyal Berger
                                               Eyal Berger, Esq.
SERVICE LIST

22-13166-PDR Notice will be electronically mailed to:

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GS Capital Partners, LLC
1 East Liberty Street, Suite 600
Reno, NV 89501

Generex Biotechnology Corp
10102 USA Today Way
Miramar, Fl 33025

U.S. Securities & Exchange Commission
Office of Reorganization
950 East Paces Ferry Road NE, Suite 900
Atlanta, GA 30326-1382

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Florida Dept. of Revenue
Bankruptcy Unit
P.O. Box 6668
Tallahassee, FL 32314-6668

Olaregen Therapeutix, Inc.
1001 6th Ave, 2nd Fl
New York, NY 10018

Olaregen Therapeutix, Inc.
1001 Avenues of the Americas
New York, NY 10018

Olaregen Therapeutix, Inc.
2nd Floor, 1001 Avenues of the Americas
New York, NY 10018
Attn: Anthony J. Dolisi, CEO & President

Olaregen Therapeutix, Inc.
c/o Registered Agent THE CORPORATION
1001 AVENUE OF AMERICA 2ND FL
NEW YORK, NY 10018

Olaregen Therapeutix, Inc.
c/o Registered Agent THE COMPANY CORPORATION
251 LITTLE FALLS DRIVE
WILMINGTON, DE 19808

NuGenerex Immuno-Oncology, Inc.
c/o Registered Agent VCorp Services, LLC
1013 Centre Road Suite 403-B
Wilmington, DE 19805




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NuGenerex Immuno-Oncology, Inc.
10102 USA Today Way
Miramar, Florida 33025

NuGenerex Immuno-Oncology, Inc.
c/o Registered Agent VCORP SERVICES, LLC
1200 S PINE ISLAND ROAD
PLANTATION, FL 33324

NuGenerex Immuno-Oncology, Inc.
c/o Director Richard Purcell
10102 USA Today Way
Miramar, Florida 33025

NuGenerex Immuno-Oncology, Inc.
c/o Director Marvin Hausman
10102 USA Today Way
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NuGenerex Immuno-Oncology, Inc.
c/o Director Joseph Moscato
10102 USA Today Way
Miramar, Florida 33025

NuGenerex Immuno-Oncology, Inc.
c/o Director Anthony Crisci
10102 USA Today Way
Miramar, Florida 33025

Creek Mountain Partners, Inc.
3292 Main Street
Exmore, VA 23350

Creek Mountain Partners, LLC
PO Box 1445
Exmore, VA 23350

Oasis Capital, LLC
208 Ponce de Leon Ave, Suite 1600
San Juan, PR 00918

CREDITOR MATRIX ATTACHED




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                    EXHIBIT 2
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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                Fort Lauderdale Division
                                 www.flsb.uscourts.gov

In re:                                                      Chapter 7

GENEREX BIOTECHNOLOGY CORP,                                 Case No. 22-13166-PDR

               Debtor.
                                             /

   ORDER (I) APPROVING STALKING HORSE BID AND STALKING HORSE EPA,
  (II) APPROVING BID PROCEDURES AND BID PROTECTIONS IN CONNECTION
          WITH THE SALE OF DEBTOR’S EQUITY IN TWO SUBSIDIARIES,
         (III) APPROVING THE FORM AND MANNER OF NOTICE OF SALE,
              (IV) SCHEDULING AN AUCTION AND SALE HEARING AND
                          (V) APPROVING THE SALE OF
    THE EQUITY FREE AND CLEAR OF LIENS, CLAIMS, AND ENCUMBRANCES

         THIS MATTER came before the Court for hearing on _________, upon the motion (the

“Motion”) (ECF No.___) of Marc Barmat, Chapter 7 Trustee (“Trustee”) of Generex

Biotechnology Corp. (the “Debtor”) seeking the entry of an order (I) approving Stalking Horse

Bid and Stalking Horse EPA, (II) approving bid procedures and bid protections in connection

with the sale of Debtor’s equity in two entities, (III) approving the form and manner of notice of

sale, (IV) scheduling an auction and sale hearing, and (V) approving the sale of the equity free


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and clear of all liens, claims, encumbrances, and interests of any kind, including without

limitation any right anyone may have to the Equity (as defined below), specifically including any

right to claw back equity pursuant to contract or other restrictions on transfer, except that any

buyer will take the Creek Olaregen Equity, subject to any valid lien asserted by Creek Mountain

Partners, Inc. (“Creek Mountain”). The Court, having reviewed the Motion, the Appendix (ECF

No. ___), having heard arguments of counsel, and being otherwise fully advised in the premises,

hereby:

          FINDS AND DETERMINES THAT:

          A.     The Court has jurisdiction over this matter and over the property of the Debtor

pursuant to 28 U.S.C. §§ 157(a) and 1334, venue is proper in this district pursuant to 28 U.S.C. §

1408, and this is a core proceeding pursuant to 28 U.S.C. § 157(b).

          B.     Good and sufficient notice of the relief sought in the Motion has been given in

accordance with Bankruptcy Rule 2002, and no other or further notice is or shall be required. A

reasonable opportunity to object or be heard regarding the relief requested in the Motion has

been afforded to all parties-in-interest.

          C.     The sale procedures set forth herein (the “Sale Procedures”) and proposed notice

of the sale set forth in the Motion are appropriate, and reasonably calculated to provide all

interested parties with timely and proper notice thereof.

          D.     The Sale Procedures set forth herein are fair, reasonable, and appropriate, and are

designed to maximize the recovery on the proposed sale of the Equity.1

          E.     The bidding and sale process described in the Motion is fair and reasonable, and

designed to fully expose the Equity to the market.


1
 Capitalized terms not defined herein shall have the meaning ascribed in the Stalking Horse EPA, or if there is no
definition therein, the meanings ascribed in the Motion.


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          F.       As set forth in the Motion, the Equity is property of the Debtor’s bankruptcy

estate.

          G.       The Court makes the following factual findings with respect to Olaregen

Therapeutix, Inc. (“Olaregen”):

                 i.       Olaregen has 6,236,390 common stock shares outstanding and no

          preferred or other classes of equity interests;

               ii.        Debtor owns 6,236,390 shares of Olaregen’s common stock, representing

          100% of the outstanding shares of Olaregen;

               iii.       Debtor’s 100% ownership of Olaregen stock is property of the bankruptcy

          estate and the Trustee has authority to convey the Olaregen stock to the Buyer;

               iv.        Creek Mountain’s Lien, if valid and enforceable, would attach only to

          592,683 common shares of Olaregen;

                v.        no other person or entity has any rights, interest, or equity in the shares of

          Olaregen; and

               vi.        there has been no share issuance or other event causing dilution of

          Debtor’s equity in Olaregen.

          H.       The Court makes the following factual findings with respect to Antigen Express,

Inc. d/b/a NuGenerex Immuno-Oncology, Inc. (“NGIO”):

                 i.       NGIO has 100,300,000 common stock shares outstanding, and the Debtor

          owns 64,153,151 of such common stock shares of NGIO;

               ii.        NGIO has 100,000 Series A Super Voting Preferred Stock outstanding,

          and the Debtor owns all 100,000 shares of such Series A Super Voting Preferred Stock;

               iii.       there are no other classes of equity interests in NGIO;




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                iv.       Debtor’s equity in NGIO is property of the bankruptcy estate and the

         Trustee has authority to convey the NGIO stock to the Buyer;

                v.        no other person or entity has any rights, interest, or equity in the Debtor’s

         shares of NGIO; and

                vi.       there has been no share issuance or other event causing dilution of

         Debtor’s equity in NGIO.

         I.        The Stalking Horse Bid was proposed and entered into by the Trustee and the

Stalking Horse Bidder without collusion, in good faith, and from arm's length bargaining

positions. The Stalking Horse Bidder is a purchaser in good faith under 11 U.S.C. § 363(m) and,

as such, is entitled to the protections afforded thereby.

         J.        Pursuant to 11 U.S.C. § 105, it is necessary and appropriate to issue an injunction

against further issuance of additional equity or taking any actions to dilute the existing Equity.

         K.        The entry of this Order is in the best interests of the Debtor’s estate, creditors and

all other parties-in-interest.

ORDERS AND ADJUDGES THAT:

         1.        The Motion is GRANTED as set forth herein.

         2.        The Sale Procedures set forth herein are hereby APPROVED.

         3.        The Trustee is hereby AUTHORIZED to consummate and carry out the actions

reasonably necessary to consummate and carry out the Sale Procedures and Auction.

         4.        The form of the equity purchase agreement (“EPA”) filed by the Trustee and

annexed to the Motion (ECF No. ___) is approved, subject to the terms of the sale procedures set

forth herein.




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         5.          The findings and conclusions set forth above constitute the Court’s findings of

fact and conclusions of law pursuant to Bankruptcy Rule 7052.

         6.          The Sale Procedures with respect to the Auction and the sale of the Equity are as

follows:

               i.    Participation Requirements: Unless otherwise ordered by the Court, in order to
                     participate in the bidding process, an interested bidder must:

                                   (1)      Wire into the trust account of the Trustee an escrow deposit
                            of Two Hundred Thousand Dollars ($200,000.00) so that the wire is
                            confirmed to be received by the Trustee through a balance verification of
                            the Trustee's trust account no later than 5:00 p.m. EST on December 23,
                            2022 (the “Bid Deadline”);

                                    (2)     Submit to the Trustee and Akerman LLP on or before the
                            Bid Deadline: (A) a fully executed equity purchase agreement (“EPA”)
                            substantially in the form of the EPA to be provided by the Trustee (the
                            effectiveness of such EPA being contingent only upon the Qualified
                            Bidder becoming the Successful Bidder pursuant to these procedures,
                            subject only to Bankruptcy Court approval, with no due diligence or
                            financing contingencies), with a purchase price of not less than One
                            Million Seven Hundred Thousand Dollars ($1,700,000.00), and (B) a
                            black-lined version of the EPA to show any changes made by such bidder;
                            provided that, an EPA with any material changes may be rejected by the
                            Trustee in its sole business judgment; and

                                   (3)     Submit to Akerman and the Trustee on or before the Bid
                            Deadline such financial disclosures and documentation which
                            demonstrate, in the Trustee’s sole business judgment, the potential
                            bidder’s financial and other capabilities to consummate the sale.

             ii.     A person who timely complies with these Participation Requirements shall have
                     submitted a “Qualified Bid” and shall be deemed a “Qualified Bidder.” The list
                     of Qualified Bidders will not be shared with anyone prior to the Auction except
                     the Stalking Horse Bidder. The Stalking Horse Bidder shall be deemed a
                     Qualified Bidder.

             iii.    Waiver of Conflicts: Any person who has submitted a Qualified Bid shall be
                     deemed to have waived any right to claim there is a conflict with respect to an
                     unrelated transaction for which such person has employed the law firm of
                     Akerman LLP, or Furr Cohen, P.A., and the Trustee’s employment of Eyal
                     Berger, Esq. and the law firm of Akerman LLP as counsel for the sale of the
                     Equity and related transactions contemplated therein.



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             iv.    Deadline to Object: The deadline to object to the Stalking Horse Bid and sale
                    procedures is December 16, 2022.

             v.     Auction: In the event the Trustee receives a timely Qualified Bid, the Trustee
                    will conduct an auction (the “Auction”). The Auction shall take place on
                    December 27, 2022 beginning at 9:30 a.m. via Zoom videoconferencing, or
                    such other time or place as the Trustee shall notify the Qualified Bidders. In the
                    event the Trustee does not receive a timely Qualified Bid, the Trustee will seek
                    final approval of the sale to the Stalking Horse bidder at the Sale Hearing.

             vi.    Auction Procedures: At the Auction, the Trustee will identify the Qualified Bid
                    which shall serve as the opening bid.

                                  (1)     All Qualified Bidders shall be entitled to make any
                           subsequent bids in increments of not less than $50,000.00 (a “Subsequent
                           Bid”). Bidding at the Auction shall continue until such time as the highest
                           or best offer is determined by the Trustee in the exercise of his sole
                           business judgment. The Trustee reserves the right to modify the bidding
                           increments or announce at the Auction additional procedural rules for
                           conducting the Auction in his sole business judgment.

                                   (2)     Each Qualified Bidder’s offer shall be irrevocable until the
                           selection of the Successful Bidder and, if applicable, the Back-Up Bidder
                           (as set forth in the EPA), provided that if such bidder is selected as the
                           Successful Bidder or the Back-Up Bidder, its offer shall remain
                           irrevocable until the closing of the sale to the Successful Bidder or the
                           Back-Up Bidder.

         vii.       Broker’s Commissions: The bankruptcy estate shall not be liable for any broker
                    commissions.

         viii.      Successful Bid: After the conclusion of the Auction, the Trustee shall submit the
                    highest or best bid that has been accepted (the “Successful Bid”) for approval by
                    the Bankruptcy Court at a hearing at the United States Courthouse, 299 E.
                    Broward Blvd, Courtroom 301, Fort Lauderdale, FL 33301 on December 27,
                    2022 at 2:30 p.m. EST following the auction (the “Sale Hearing”). The Qualified
                    Bidder who has the Successful Bid presented for approval to the Court shall be
                    referred to as the “Successful Bidder.”

             ix.    Closing Date: The closing of the transaction (the “Closing”) shall take place on
                    or before January 30, 2023, so long Sale Order is entered by December 30, 2022
                    and is not subject to any stay (the “Closing Date”), subject to the terms of the
                    EPA. The Successful Bidder must be prepared and must in fact consummate the
                    purchase of the Equity in accordance with the EPA.

             x.     Back Up Bid: Upon the failure of the Successful Bidder to consummate the
                    closing of the purchase of the Equity because of a breach or failure on the part of
                    the Successful Bidder, then the Trustee may elect in his business judgment to


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                    close with the next highest or otherwise best Qualified Bidder to be the Successful
                    Bidder (the “Back Up Bidder”). At the Sale Hearing, the Trustee intends to seek
                    approval from the Court for the next highest or best bid (the “Back Up Bid”),
                    which approval shall authorize the Trustee to consummate the Back Up Bid
                    immediately after a default under the Successful Bid without further order of the
                    Court. Promptly following the conclusion of the Sale Hearing, the Trustee shall
                    return the deposits to each unsuccessful Qualified Bidder (except the Back Up
                    Bidder whose deposit shall either be returned upon the closing of the sale to the
                    Successful Bidder or applied to the purchase price in a closing with such Back Up
                    Bidder).

             xi.    As is/where is: The Equity will be sold “as is”, “where is”, with all faults, with no
                    guarantees or warranties, express or implied.

         xii.       Credit Bidding: Only holders of allowed valid secured claims (that are otherwise
                    Qualified Bidders) are permitted to credit bid at the Auction; provided that, in the
                    event any person submits a permitted credit bid and is the Successful Bidder
                    and/or Back Up Bidder, such person shall provide for the payment of the Break-
                    Up Fee, in cash on the Closing Date. No party shall be permitted or entitled to
                    credit bid, or attempt to credit bid, any alleged obligation of the Debtor that the
                    Trustee asserts constitutes, or will constitute at some point, a contingent,
                    unliquidated or disputed claim against the Debtor. The Trustee reserves all rights
                    to contest the propriety of any credit bid pursuant to § 363(k) and § 105 of the
                    Bankruptcy Code.

         7.         The Trustee is authorized to act in accordance with the Sale Procedures, which

shall be binding upon all parties-in-interest in this case.

         8.         The Equity Purchase Agreement (the “Stalking Horse EPA”) entered into between

the Trustee and Bio & Med Tech of the Future SPV2, LP (the “Stalking Horse Bidder”) is

approved, subject to the Sale Hearing and entry of the Sale Order.

         9.         The Break-Up Fee in the amount of Fifty Thousand and No/100 Dollars

($50,000.00) set forth in the Stalking Horse EPA is approved as set forth therein.

         10.        The Overbid Protection set forth in the Stalking Horse EPA is approved, and if

the Stalking Horse Bidder has not terminated or materially breached the Stalking Horse EPA, the

Trustee agrees not to accept any offers from an alternative Buyer unless such offer is at least One

Million Seven Hundred Thousand Dollars ($1,700,000.00).



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         11.    Prior to the Sale, all persons and entities are enjoined from issuance of additional

equity in NGIO or Olaregen, or taking any actions to dilute the existing Equity.

         12.    The Trustee is authorized and permitted to sell the Equity to the highest or best

bidder following the Auction, free and clear of any liens (including, without limitation,

workmen’s, mechanics’ and materialmen’s liens), liabilities, claims (secured or unsecured),

security interests, charges, mortgages, deeds of trust, suits, proceedings, options, easements,

trusts, restrictions, obligations or other interests, rights, or encumbrances of any kind or nature,

whether accrued, absolute, contingent or otherwise, or other restrictions on transfer, except with

respect to lien asserted by Creek Mountain on 592,682 shares of Series A Preferred Shares in

Olaregen owned by Debtor. The purchaser of the Equity will take the Equity subject only to any

valid lien asserted by Creek Mountain. The Liens and Interests, except any lien or interest of

Creek Mountain, shall attach to the proceeds of the sale of the Equity in the order of their

priority, with the validity, force and effect that they had as of the Petition Date, if any, against the

Equity, subject to the rights, claims, defenses and objections of the Trustee and all interested

parties with respect to such liens, so that the purchaser of the Equity shall take the Equity free of

all the Liens and Interests.

         13.    The Auction will be held on December 27, 2022 at 10:00 a.m. via Zoom

videoconferencing, or such other time or place as the Trustee shall notify the Qualified Bidders.

The Auction may be adjourned or rescheduled without notice other than by an announcement of

such adjournment at the Auction.

         14.    The Sale Hearing to consider final approval of the sale of the Equity will be held

immediately following the Auction on December 27, 2022 at 2:30 p.m. at the United States

Bankruptcy Court, United States Courthouse, 299 E. Broward Blvd., Courtroom 301, Fort




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Lauderdale, FL 33301. The Sale Hearing may be adjourned or rescheduled without notice other

than by an announcement of such adjournment at the Sale Hearing.

         15.    Objections, if any, to the proposed sale, must: a) be in writing, b) set forth the

nature of the objector’s claims against or interest in the Debtor’s estate, and the basis for the

objection and the specific grounds therefore; c) comply with the Bankruptcy Rules and the Local

Bankruptcy Rules for the Southern District of Florida and all Orders of this Court; d) be filed

with the Court and served upon the Trustee, the Debtor, the Stalking Horse Bidder, and the

United States Trustee for the Southern District of Florida, so as to be received no later than

December 16, 2022 (the “Objection Deadline”). Only timely filed and served responses and

objections will be considered by the Court during the Sale Hearing. The failure of any person or

entity to timely file its objection shall be a bar to the assertion, at the Sale Hearing or thereafter,

of any objection to the Motion, the proposed sale or the consummation and performance with

respect to the proposed sale.

         16.    The Trustee has served the Motion on the Debtor, all creditors scheduled on the

creditor matrix, all creditors who have filed proofs of claim, the Office of the United States

Trustee, and on the registered agent and corporate management of NGIO and Olaregen. The

Trustee shall serve this Order upon the Debtor, all creditors scheduled on the creditor matrix, all

creditors who have filed proofs of claim, the Office of the United States Trustee and on the

registered agent and corporate management of NGIO and Olaregen. The foregoing form and

manner of notice of the Auction and proposed sale is approved.

         17.    The Trustee will publish notice of the proposed sale free and clear of all Liens and

Interests pursuant to Section 363(f) of the Bankruptcy Code, except as otherwise provided

herein, with such Liens and Interests attaching to the sale proceeds, in the Wall Street Journal




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not less than once per week for two consecutive weeks. Such publication notice will set forth the

time, date and place of the Auction and Sale Hearing.

         18.    Notice of the Sale Procedures, the Auction, the Sale Hearing and the remainder of

the relief requested in the Motion, as described in the Motion, shall be good and sufficient notice

thereof, and any requirements for other or further notice shall be waived and dispensed with

pursuant to Bankruptcy Rules 2002, 6004, 6006 and 9007 and pursuant to the Court’s powers

under section 105 of the Bankruptcy Code.

         19.    Any stays that may be imposed by Rule 6004(h) of the Federal Rules of

Bankruptcy Procedure with respect to the Motion are waived.

         20.    The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.

                                                ###

Submitted by:

Eyal Berger, Esq.
Florida Bar No.: 011069
Email: eyal.berger@akerman.com
AKERMAN LLP
201 East Las Olas Boulevard, Suite 1800
Fort Lauderdale, FL 33301-2999
Tel: 954-463-2700
Fax: 954-463-2224

Attorney Berger is directed to serve a conformed copy of this order on all interested parties.




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